8 F.3d 822
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Jorge Alberto RUIZ, Defendant-Appellant.
    No. 92-7016.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 14, 1993.Decided:  October 25, 1993.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.
      Jorge Alberto Ruiz, Appellant Pro Se.
      Debra Jo Stuart, Assistant United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jorge Alberto Ruiz appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ruiz, Nos.  CR-83-51-C;  CA-92-145-3-P (W.D.N.C. Sept. 11, 1992).  We deny Ruiz's motions for oral argument and appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    